 4:24-cr-03012-SMB-JMD       Doc # 12   Filed: 01/25/24   Page 1 of 1 - Page ID # 20




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                              4:24CR3012

       vs.
                                                              ORDER
TIMOTHY H. MAISNER,

                    Defendant.



       The court has been presented a Financial Affidavit (CJA Form 23) signed by
the above-named defendant in support of a request for appointed counsel. After
a review of the Financial Affidavit, I find that the above-named defendant is eligible
for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A,
and Amended Criminal Justice Act Plan for the District of Nebraska.

        IT IS ORDERED that James K. McGough is appointed as attorney of record
for the above-named defendant in this matter and shall forthwith file an appearance
in this matter.

      IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall
forthwith provide counsel with a draft appointment order (CJA Form 20) bearing
the name and other identifying information of the CJA Panel attorney identified in
accordance with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order
to the Federal Public Defender for the District of Nebraska and James K.
McGough.

      DATED this 25th day of January, 2024.

                                              BY THE COURT:

                                              s/ Jacqueline M. DeLuca
                                              United States Magistrate Judge
